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       Attorneys for Plaintiff,
   6   Janet Velasquez
   7
                                UNITED STATES DISTRICT COURT
   8
   9                           CENTRAL DISTRICT OF CALIFORNIA
  10
  11
            Janet Velasquez,                             Case No.: 2:16-cv-05077-ODW-JEM
  12
                                Plaintiff,
  13
  14        v.                                           NOTICE OF SETTLEMENT

  15        Nationstar Mortgage LLC,
  16
                                Defendant(s).
  17
  18             NOTICE IS HEREBY GIVEN that Plaintiff, Janet Velasquez, and Defendant,
  19
       Nationstar Mortgage LLC, have settled all claims between them in this matter. The parties
  20
  21   are in the process of completing the final settlement documents and expect to file a

  22   Stipulated Dismissal with Prejudice within the next thirty (30) days. The parties also
  23   request that the Court retain jurisdiction for any matters related to completing and/or
  24
       enforcing the settlement.
  25
  26   //

  27
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  28

                                                                            NOTICE OF SETTLEMENT
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   1          DATED this 29th day of August, 2016
   2
                                                      PRICE LAW GROUP, APC
   3
   4
                                                      By: /s/ Stuart M. Price___________
   5                                                  Stuart M. Price (SBN150439)
                                                      stuart@pricelawgroup.com
   6                                                  Attorneys for Plaintiff
   7
   8
   9
  10                                CERTIFICATE OF SERVICE
  11
  12          I hereby certify that on August 29, 2016, I electronically filed the foregoing with

  13   the Clerk of the Court using the ECF system, which will send notice of such filing to all
  14
       attorneys of record in this matter. Since none of the attorneys of record are non-ECF
  15
       participants, hard copies of the foregoing have not been provided via personal delivery or
  16
  17   by postal mail.

  18
  19
       /s/ Florence Lirato
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  28
                                                                            NOTICE OF SETTLEMENT
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